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 1   LAW OFFICES OF SCOTT L. TEDMON
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 2
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 4   Telephone: (916) 449-9985
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 5

 6   Attorney for Defendant
     ALEKSANDR MIKHAYLOV
 7

 8

 9                           UNITED STATES DISTRICT COURT

10                    FOR THE EASTERN DISTRICT OF CALIFORNIA

11
                                               )
12
     UNITED STATES OF AMERICA,                 )   Case No. 2:12-CR-0322-MCE
                                               )
13
                                               )   STIPULATION AND ORDER RE:
                        Plaintiff,             )
14
                                                   CONTINUANCE OF STATUS
                                               )   CONFERENCE
            v.                                 )
15
                                               )
     ALEKSANDR LASTOVSKIY, et al.,             )
16
                                               )   DATE: January 9, 2014
                       Defendants.             )   TIME: 9:00 a.m.
17
                                               )   JUDGE: Morrison C. England, Jr.
18                                             )

19          The United States of America, by and through Assistant U.S. Attorney Heiko
20
     P. Coppola; defendant Aleksandr Lastovskiy, by and through counsel Michael L.
21
     Chastaine; defendant Tatyana Shvets, by and though counsel Bruce Locke;
22
     defendant Aleksandr Mikhaylov, by and through counsel Scott L. Tedmon; and
23

24   defendant Hovik Mkrtchian, by and through counsel Richard E. Nahigian, hereby

25   stipulate and agree as follows:
26
            1. The status conference is currently set for January 9, 2014 at 9:00 a.m.
27
            2. By this stipulation, the above-named defendants now move to continue
28
     the status conference to Thursday, March 13, 2014 at 9:00 a.m., and to exclude time



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 1   from January 9, 2014 through March 13, 2014 under Local Code T4. Plaintiff does
 2
     not oppose this request.
 3
            3. The basis upon which the parties agree to this proposed continuance of
 4
     the status conference is as follows:
 5

 6          a.     The government has produced discovery which to date includes

 7                 approximately 1,000 pages containing witness statements, banking
 8
                   records, and investigative materials. The government advises it will be
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                   producing additional discovery to defense counsel. As such, defense
10
                   counsel needs additional time to review and analyze the additional
11

12                 discovery produced by the government, conduct independent defense

13                 investigation, and consult with their respective clients.
14
            b.     Counsel for each defendant believes that failure to grant the above-
15
                   requested continuance would deny their respective client the
16
                   reasonable time necessary for effective preparation, taking into
17

18                 account the exercise of due diligence.

19          c.     Plaintiff does not object to the continuance.
20
            d.     Based on the above-stated findings, the ends of justice served by
21
                   continuing the status conference as requested outweigh the best
22
                   interest of the public and the defendants in a trial within the original
23

24                 date prescribed by the Speedy Trial Act.

25          e.     For the purpose of computing time under the Speedy Trial Act, 16
26
                   U.S.C. § 3161, et seq., within which trial must commence, the time
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                   period from January 9, 2014 to March 13, 2014, inclusive, is deemed
28
                   excludable pursuant to 18 U.S.C. § 3161 (h)(7)(a), B(iv); [Local Code


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 1                 T4] because it results from a continuance by the Court at the
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                   defendants request on the basis of the Court’s finding that the ends of
 3
                   justice served by taking such action outweigh the best interest of the
 4
                   public and the defendants in a speedy trial.
 5

 6          4. Nothing in this stipulation and order shall preclude a finding that other

 7   provisions of the Speedy Trial Act dictate that the additional time periods are
 8
     excludable from the period within which a trial must commence.
 9
            5. Finally, Scott L. Tedmon has been authorized by all counsel to sign this
10
     stipulation on their behalf.
11

12          Based on the foregoing, the undersigned parties agree and stipulate the

13   January 9, 2014 status conference be continued to March 13, 2014 at 9:00 a.m.
14
     IT IS SO STIPULATED.
15
     DATED: January 4, 2014             BENJAMIN B. WAGNER
16                                      United States Attorney
17
                                        /s/ Heiko P. Coppola
18                                      HEIKO P. COPPOLA
                                        Assistant United States Attorney
19

20
     DATED: January 4, 2014             LAW OFFICES OF MICHAEL L. CHASTAINE
21
                                        /s/ Michael L. Chastaine
22                                      MICHAEL L. CHASTAINE
                                        Attorney for Defendant Aleksandr Lastovskiy
23

24
     DATED: January 4, 2014             LAW OFFICES OF MOSS & LOCKE
25
                                        /s/ Bruce Locke
26
                                        BRUCE LOCKE
27                                      Attorney for Defendant Tatyana Shvets

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 1   DATED: January 4, 2014       LAW OFFICES OF SCOTT L. TEDMON
 2
                                  /s/ Scott L. Tedmon
 3                                SCOTT L. TEDMON
                                  Attorney for Defendant Aleksandr Mikhaylov
 4

 5
     DATED: January 4, 2014       LAW OFFICES OF RICHARD E. NAHIGIAN
 6
                                  /s/ Richard E. Nahigian
 7                                RICHARD E. NAHIGIAN
                                  Attorney for Defendant Hovik Mkrtchian
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12                                   ORDER

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           IT IS SO ORDERED.
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15   Dated: February 19, 2014

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